               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH-6


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                  ORDER
                                )
GEORGE M. GABLER,               )
                                )
                   Defendant.   )
_______________________________ )

        THIS MATTER is before the Court on the Defendant’s Motion to

Adopt Co-Defendant Durham’s Motion to Strike Surplusage [Doc. 142] and

the Defendant’s own Motion to Strike Surplusage from Indictment [Doc.

143].

        For the reasons stated therein, and for good cause shown, the Court

will allow Defendant Gabler to adopt Defendant Durham’s motion. Further,

in the interest of judicial economy, the Court will allow the Government to

file a single response to the Motions to Strike.

        IT IS, THEREFORE, ORDERED that Defendant Gabler’s Motion to

Adopt Co-Defendant Durham’s Motion to Strike Surplusage [Doc. 142] is

ALLOWED.




   Case 1:12-cr-00020-MR-SCR     Document 145      Filed 02/06/13   Page 1 of 2
        IT IS FURTHER ORDERED that the Government shall file a single

response to the Defendants’ Motions to Strike on or before February 15,

2013.

        IT IS SO ORDERED.

                                   Signed: February 5, 2013




                                    2




   Case 1:12-cr-00020-MR-SCR   Document 145         Filed 02/06/13   Page 2 of 2
